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STATE OF CALIFORNIA For Office Use Only
Office of the Secretary of State, Alex Padilla
UCC FINANCING STATEMENT AMENDMENT (UCC -FILED-
3)
California Secretary of State File #: U200002332621

1500 11th Street
Sacramento, California 95814
(916) 653-3516

Date Filed: 7/20/2020

Submitter Information:
Contact Name

Organization Name Legalist, Inc,

Phone Number

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Address 880 Harrison Street
303A

San Francisco, CA 94107

Amendment Action Information:

initial Financing Statement File Number 197691558263

Date Filed 01/10/2019

Amendment Action Collateral Amendment

Collateral Change Restate Collateral

Indicate how documentation of Collateral is provided: Entered as Text
Description:

(a) any and all value due to and/or received by, on behalf of, or in lieu of payment for, or with respect to, any services
performed by or on behalf of Counsel for any client (“Claim Proceeds”) to Russel D. Myrick or RDM Legal Group ("Counsel"),
including, without limitation, all Claim Proceeds arising out of, relating to, and/or in connection to the case entitled Craig
Blanchette v. Competitor Group et al, Case # Case No. 37-2016-00018380-CU-PO-CTL pending in the Superior Court of
California, County of San Diego (and/or any related appeals or cases), as a result of any judgment, award, order, settlement
arrangement and/or compromise (including payment of any damages (whether treble, compensatory, punitive, or special),
compensation, interest, restitution, recovery, judgment sum, arbitral award, settlement sum, compensation payment, costs and
interest on costs), whether in monetary or non-monetary form, whether actual or contingent, and before deduction of any taxes
which the Plaintiff may be liable to pay in connection with such value due to and/or received by Counsel.

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(b) All accounts, instruments, chattel paper, general intangibles, payment intangibles (all as defined by Article 9 of the Code)
and all similar rights that Counsel may have of every nature and kind including specifically and without limitation, all of
Counsel's rights to receive payment or otherwise, for legal and other services rendered and to be rendered and for costs and
expenses advanced and/or to be advanced, and all other rights and interest that Counsel may have in and with respect to
Claim Proceeds;

(c) Rights under any insurance policies that may be assigned to Funder under such terms and conditions as Funder may
require; and

(d) Such additional collateral as Funder may require from time to time of Counsel.

(1) Check this box to see additional UCC Collateral options.

Name of Secured Party of Record Authorizing This Amendment:
oO if this Amendment is authorized by a Debtor, check this box and select the name of the Authorizing Debtor below.

Authorizing Secured Party Name LEGALIST, INC.

Optional Filer Reference Information:

Miscellaneous Information:

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